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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

In Re: Regina G. Graziadio                                   Case No.: 18-32460 (VFP)

                                                             Chapter: 7
                                                             Judge:     Vincent F. Papalia

                              NOTICE OF PROPOSED ABANDONMENT

Charles M. Forman, Chapter 7 Trustee in this case, proposes to abandon Property of the estate described
below as being of inconsequential value. If you object to the abandonment, you must file a written
objection with the Clerk of the United States Bankruptcy Court and serve it on the party named below not
later than 7 days before the hearing date.

                                             Address of the Clerk:
                                               James J. Waldron
                                        United States Bankruptcy Court
                                          MLK Jr. Federal Building
                                               50 Walnut Street
                                              Newark, NJ 07102
If an objection is filed, a hearing will be held before the Honorable Vincent F. Papalia on March 5, 2019,
at 10:00 a.m. at the United States Bankruptcy Court, Courtroom no. 3B. (Hearing date must be at least 28 days from
the date of this notice). If no objection is filed, the abandonment shall take effect on entry by the clerk of a
Certification of No Objection.
   Description and value of property:

   Real property located at 101 Kendall Drive, Ringwood, NJ, having a fair market value of $479,073.00.




  Liens on property:
  Wells Fargo
  $527,575.14



 Amount of equity claimed as exempt: None claimed

Objections must be served on, and requests for additional information directed to:
Name: Charles M. Forman, Trustee
Address: Forman Holt, 66 Route 17 North, Paramus, NJ 07652
Telephone No.: 201-845-1000




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